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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     (Miami Division)

                                   Case No. 1:21-cv-20975-BB

  MBI SERVICES, LLC,

         Plaintiff,
  vs.

  APEX DISTRIBUTION LLC, et al.,

         Defendants.


               DEFENDANTS TILLMAN & TILLMAN PLLC AND DAVID
        K. TILLMAN’S MOTION TO DISMISS AND FOR SUMMARY JUDGMENT

        Pursuant to Federal Rules of Civil Procedure 12(b)(6) and 56 and Local Rule 56.1,

 Defendants Tillman & Tillman PLLC (“T&T”) and David K. Tillman (together, “Tillman

 Defendants”) move to dismiss the Amended Complaint and, asking the Court to consider matters

 outside of the pleadings, move for summary judgment in their favor on Counts VIII, XVI, XVII,

 and XVIII of the Amended Complaint. The ground for this motion is that there is no genuine

 dispute as to any material fact and T&T is entitled to summary judgment as a matter of law.

        Contemporaneously with this motion, the Tillman Defendants have filed (1) a

 Memorandum in Support of Defendants Tillman & Tillman PLLC and David K. Tillman’s Motion

 for Summary Judgment, (2) a Statement of Material Facts in Support of Defendants Tillman &

 Tillman PLLC and David K. Tillman’s Motion for Summary Judgment., and (3) the Declaration

 of David K. Tillman. The Tillman Defendants ask the Court to notify the parties that it will treat

 the motion as one for summary judgment. Poulsen v. Publix Super Markets, Inc., 302 F. App'x

 906, 908 (11th Cir. 2008)
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                                           Respectfully submitted,

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                                           Attorneys for Defendants Apex Distribution LLC,
                                           Hector Alvarez, Gregory A. Jones, Imitari Corp.,
                                           Terry Barnes, Tillman & Tillman PLLC, and David
                                           K. Tillman, Esq.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 1, 2021, a true and correct copy of the foregoing was

 served by CM/ECF on the attorneys listed below.

                                                   /s/ Brian S. Dervishi
                                                     Brian S. Dervishi

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